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 Attorneys for Receiver Jonathan O. Hafen


                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



  COMMODITY FUTURES TRADING
  COMMISSION, and                                        SIXTH INTERIM FEE
                                                            APPLICATION
  STATE OF UTAH DIVISION OF
  SECURITIES, through Attorney General
  Sean D. Reyes

       Plaintiffs,                              Civil No. 2:18-cv-00892-TC
         v.
                                                Judge Tena Campbell
 RUST RARE COIN INC., a Utah corporation,
 and GAYLEN DEAN RUST, an individual,           Magistrate Judge Dustin Pead
 DENISE GUNDERSON RUST, an individual,
 JOSHUA DANIEL RUST, an individual,

       Defendants;

 and

 ALEESHA RUST FRANKLIN, an individual,
 R LEGACY RACING INC, a Utah
 corporation, R LEGACY ENTERTAINMENT
 LLC, a Utah limited liability company, and R
 LEGACY INVESTMENTS LLC, a Utah
 limited liability company.

       Relief Defendants.
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        Jonathan O. Hafen, the Court-Appointed Receiver over the assets of the following

 Defendants and Relief Defendants: Rust Rare Coin Inc. (“RRC”), Gaylen Dean Rust, R Legacy

 Racing Inc., R Legacy Entertainment LLC, R Legacy Investments LLC, Gaylen Dean Rust,

 Denise Gunderson Rust, Joshua Daniel Rust, and Aleesha Rust Franklin (collectively,

 “Receivership Defendants”), hereby submits this sixth interim fee application (this “Fee

 Application”), seeking approval by the Court for the fees and expenses incurred by the Receiver;

 the Receiver’s counsel, Parr Brown Gee & Loveless (“Parr Brown”); the Receiver’s accountants,

 Berkeley Research Group (“BRG”); and the Conflict Receiver, Wayne Klein, and his counsel,

 Manning Curtis Bradshaw & Bednar, for the period of January 1, 2020 through March 31, 2020

 (the “Application Period”). The Receiver seeks authorization to pay all allowed fees and

 expenses from the Receivership Estate once the Receiver has recovered an amount equal to three

 times the fees requested in this Fee Application and allowed in prior applications. In support

 hereof, the Receiver states as follows:

  I.    RELEVANT BACKGROUND

        1.      On November 27, 2018, the Court entered an Order Appointing Receiver and

 Staying Litigation (the “Appointment Order”). See Dkt. No. 54. Accordingly, the Receiver has

 worked in concert with his counsel, Parr Brown, and his accountants, BRG, to identify, secure,

 and liquidate various Receivership assets, identify claimants and creditors of the Receivership

 Estate, and identify and initiate discussions with net winners to recover funds for the benefit of all

 Receivership claimants.

        2.      The Receiver has filed his Sixth Quarterly Status Report, which includes a status




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 report for the period of January 1, 2020 through March 31, 2020 (the “Sixth Status Report”). 1 The

 Sixth Status Report provides a comprehensive description of the services performed by the

 Receiver and his professionals during the Application Period and is incorporated herein by

 reference.

 II.      REQUEST FOR COURT APPROVAL OF FEES AND EXPENSES

          3.      The Appointment Order provides, in the relevant part:

          57. Subject to Paragraph 59 immediately below, the Receiver is authorized to solicit
          persons and entities (“Retained Personnel”) to assist him in carrying out the duties
          and responsibilities described in this Order. The Receiver shall not engage any
          Retained Personnel without first obtaining an Order of the Court authorizing such
          engagement.

          58. The Receiver and Retained Personnel are entitled to reasonable compensation
          and expense reimbursement from the Receivership Estates. The Receiver and
          Retained Personnel shall not be compensated or reimbursed by, or otherwise
          entitled to, any funds from the Court, the CFTC, or the State of Utah. Such
          compensation shall require the prior review by Plaintiffs and approval of the Court.

          4.      Accordingly, the Receiver respectfully requests that the Court approve the fees and

 expenses incurred by the Receiver, his team, and the Conflict Receiver and his counsel as set forth

 below and in the attached Exhibits.




 1
     Docket No. 301, filed April 30, 2020.



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 III.      FEES AND EXPENSES REQUESTED ARE ACTUAL, NECESSARY AND
           REASONABLE FOR THE SERVICES RENDERED

           5.   During this Application Period, the Receiver and his professionals have provided

 actual and necessary services for the Receivership Estate as summarized below and detailed in the

 Exhibits attached hereto. The Exhibits also detail the out-of-pocket expenses incurred by the

 professionals in rendering services to the Receivership Estate.

           6.   Parr Brown and BRG have submitted their invoices to the Receiver, and the

 Receiver has reviewed and approved the invoices.

           7.   This Fee Application complies with the billing instructions set forth in the

 Appointment Order. The Receiver submitted this Fee Application to the Utah Division of

 Securities and CFTC prior to filing it with the Court, and both have informed the Receiver that

 they have no objection to the payment of the fees and reimbursement of the expenses outlined

 herein.

           8.   The Receiver believes that the fees and expenses are reasonable. The Receiver also

 believes that the services rendered and the expenses advanced have been beneficial to the

 Receivership Estate.

           9.   Consistent with the Receiver’s previous fee applications, the Receiver and his

 professionals have continued to write off time and delay payment to assure that the Receivership

 Estate will receive an amount at least three times in excess of any fees requested before the

 Receiver and his professionals are paid. In this Fee Application, the Receiver has voluntarily

 written off all time related to the preparation of any fee application and has otherwise made

 downward adjustments to fees and expenses as appropriate.




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 IV.    SUMMARY OF AMOUNTS REQUESTED

        10.    The total amounts requested for the Receiver, his professionals, the Conflict

 Receiver and his counsel in this Fee Application, including the relevant voluntary write downs,

 are summarized below:

               a.      Receiver: From January 1, 2020 through March 31, 2020, the Receiver

        billed a total of 64.6 hours for services to the Receivership Estate. The Receiver is seeking

        approval for the payment of fees totaling $23,414.11 of which $23,256.00 is for fees and

        $158.11 is for out-of-pocket expenses. See Exhibit A.

               b.      Parr Brown: From January 1, 2020 through March 31, 2020, Parr Brown

        billed a total of 2,114.2 hours for legal services to the Receivership Estate. Parr Brown is

        seeking approval for the payment of fees and expenses totaling $472,207.75 of which

        $462,588.50 is for fees and $9,619.25 is for out-of-pocket expenses. See Exhibit B. These

        amounts include a voluntary write down of $8,930.50.

               c.      BRG: From January 1, 2020 through March 31, 2020, BRG billed a total of

        1,106.3 hours providing forensic, tax, and general accounting services to the Receivership

        Estate. BRG is seeking approval for the payment of fees and expenses totaling

        $291,359.79, of which $291,171.00 is for fees and $188.79 is for out-of-pocket expenses.

        See Exhibit C. These amounts include a voluntary write down of $3,911.00.

               d.      Conflict Receiver and counsel: From January 1, 2020 through March 31,

        2020, Conflict Receiver, Wayne Klein, and his legal counsel billed a total of 30.4 hours for

        services to the Receivership Estate. The Conflict Receiver and his counsel are seeking

        approval for the payment of fees totaling $8,312.00. See Exhibit D. These amounts include

        a voluntary write down of $50.00.



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        11.     The amounts requested reflect a total of $12,891.50 in voluntary reductions by the

 respective professionals in an exercise of their billing judgment.

        12.     The Receivership Estate has sufficient funds to pay all amounts requested.

 However, as set forth above, the Receiver and his professionals will not take any fees or be

 reimbursed for any expenses from the Receivership Estate until after the Receiver recovers at least

 three times the total amount of the fees requested in this and all previous fee applications.

 V.     SUMMARY OF EXHIBITS

        13.     Professional services have been recorded contemporaneously with services being

 rendered and these services, as well as the expenses incurred, are detailed in the attached Exhibits

 described below.

        14.     The Receiver, Parr Brown, BRG, the Conflict Receiver and his counsel have

 maintained their time in records organized according to tasks, with each task record being

 maintained in chronological order.

        15.     The following Exhibits are attached hereto in support of this Fee Application:

                              Exhibit A—Time Records of Receiver

                Exhibit A                      Summary by Task

        This section of Exhibit A breaks down the total fees assessed for each of the Receiver’s

 tasks, which are discussed in more detail below.

                Exhibit A-1                    Administration of Receivership Estate

        This Application Period, the Receiver worked closely with his legal counsel to draft the

 distribution plan, which was submitted to the Court for approval. The Receiver also continued to

 communicate with the Attorney General’s Office to ensure they remain updated about the status

 of the Receivership Estate and the ongoing claims analysis process and recovery efforts. In



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 addition, the Receiver reviewed certain tax and financial documents related to the administration

 of the Receivership Estate.

                Exhibit A-2                   Asset Analysis and Recovery

        The Receiver worked closely with his legal counsel during this Application Period

 negotiating favorable settlement agreements with net winners. These settlement efforts involved

 extensive coordination with the Receiver’s counsel and required the Receiver to review the

 supporting documentation and settlement agreements before their execution. The Receiver

 continued coordinating with investors and their counsel to substantiate the various metal

 transactions that were associated with such investors. The Receiver also continued to work with

 his legal counsel to recover the $1.6 million in funds that were transferred out of RRC’s bank

 account shortly after the Receiver’s appointment.

                Exhibit A-3                   Disposition of Assets

        The Receiver oversaw and coordinated the negotiation and/or sale of various real

 property during the Application Period. These efforts included overseeing the closings on the

 Huge Studios property for $3,025,000 and the Main Street property in Homer, Alaska for

 $220,000. The Receiver also oversaw and approved the sale of the equipment located at Huge

 Studios. In addition, the Receiver worked with his legal counsel and industry experts to find

 potential buyers for the Musician’s Toolkit assets and the timeshare membership with Wyndham

 by Worldmark.

                Exhibit A-4                   Claims Administration

        The Receiver and his legal team continued their analysis of the claim forms submitted by

 potential Receivership claimants. By the end of the Application Period, the Receiver and his

 team have reviewed over 612 claim forms. As part of the review process, the Receiver has



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 coordinated with his attorneys and accountants to review and verify the claim amounts identified

 in these forms to determine whether each claim will be allowed or disallowed. At this time, the

 Receiver has reviewed all claims forms submitted by potential claimants. The Receiver’s

 analysis is ongoing with respect to certain employee-related claims while the Receiver continues

 to collect employment records in order to verify such claims.

                            Exhibit B—Time Records of Parr Brown

                Exhibit B                     Summary by Task

        This section of Exhibit B breaks down the total fees assessed for each of Parr Brown’s

 tasks, which are discussed in more detail below.

                Exhibit B-1                   Administration of Receivership Estate

        During this Application Period, Parr Brown continued to manage and keep secure the

 various real and personal property within the Receivership Estate. This involved drafting a lease

 amendment with the secured storage facility where the bullion items are stored and updating

 insurance policies to ensure that such assets remain properly protected. Having obtained Court

 approval to begin liquidating inventory held at RRC (See Dkt. No 294), Parr Brown successfully

 negotiated and entered into a favorable agreement with a numismatic expert who will oversee the

 liquidation of certain high value inventory items. Parr Brown continued posting motions and

 Court orders on the Receiver’s website and also making updates to the Receiver’s mailing matrix

 to ensure all interested parties receive information about the Receivership’s progress.

                Exhibit B-2                   Asset Analysis & Recovery

        As previously reported, after analyzing the cash and metal transactions associated with

 Mr. Rust’s silver pool, Parr Brown was able to identify potential net winners of the Receivership

 Estate. In order to preserve the Receiver’s right to recover funds from net winners, Parr Brown




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 continued to work the 30 separate claw back actions filed against approximately 124 investors

 (the “Claw Back Defendants”). Parr Brown also continued working with the 170 potential net

 winners (the “Net Winners”) with whom they executed tolling agreements in order to facilitate

 further discussion and negotiations regarding their transactions with the Receivership

 Defendants. As a result of the Court granting the Receiver’s Motion for Settlement Authority

 (See Dkt. No. 271), Parr Brown worked diligently to communicate and meet with Claw Back

 Defendants, Net Winners and their counsel to secure favorable settlement agreements where

 possible. When settlement agreements has not been reached, Parr Brown has taken those actions

 necessary to prepare for, and are move numerous cases forward through the litigation process.

 Given the vast number of Claw Back Defendants and Net Winners, these recovery efforts have

 required a significant amount of analysis and review. As a result of this work, Parr Brown has

 successfully recovered approximately $419,800 in net proceeds during this Application Period.

        In connection with the claims analysis and claw back recovery efforts, Parr Brown has

 begun compiling data which will be used to prepare expert reports. These reports will be critical

 in prosecuting potential claw back filings in the upcoming months.

        Parr Brown also continued its efforts to recover the $1.6 million in funds that were

 transferred to a Zions’ customer from RRC’s bank accounts shortly after the Receiver was

 appointed. This Application Period, the Receiver attempted to informally resolve this case with

 opposing counsel but was unable to reach an agreement.

                Exhibit B-3                   Disposition of Assets

        Last quarter, Parr Brown secured an offer to purchase Huge Studios which this Court

 reviewed and approved. See Dkt. No. 278. This Application Period, Parr Brown successfully

 closed on the sale of Huge Studios to an independent, third-party buyer for $3,025,000. After



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  paying realtor fees and secured debt of $560,451, the sale of Huge Studios resulted in a net

  amount of over $2,200,000 to the Receivership Estate. Additionally, Parr Brown sold one of the

  Alaskan properties, a two-story business property located at 3657 Main Street, Homer, Alaska, to

  a third-party buyer for $220,000. As a result of the sale, approximately $205,000 was brought

  into the Receivership Estate.

         Parr Brown has worked to liquidate the music and sound equipment that was being stored

  at Huge Studios. Parr Brown coordinated with the Receiver to retain the services of a sales agent,

  Michael Greene, to facilitate the sale of the remaining equipment. This Application Period, Mr.

  Greene recovered $101,704 in proceeds from the sale of such equipment which is in addition to

  the $156,674 of equipment previously sold. There remains a relatively small amount of

  equipment left to be sold. Although Mr. Greene continues his efforts to liquidate the remaining

  Huge Studios equipment, progress has recently slowed due to complications related to COVID-

  19.

         This Application Period, Parr Brown received Court approval to begin liquidating the

  inventory that was held at RRC. See Dkt. No. 294. Accordingly, Parr Brown has retained the

  services of a numismatic expert and a local auction house to begin the liquidation process of the

  high and low-value inventory items. Parr Brown has also solicited bids from local and regional

  coin dealers to purchase the bullion items currently housed in a secured storage facility. It is

  anticipated that most of the RRC inventory will be sold during the next several months.

                 Exhibit B-4                    Claims Administration

         As previously reported, Parr Brown arranged to have over 4,000 hardcopies of the Court-

  approved claim form sent out to all potential creditors of the Receivership Estate. In response to

  this process, Parr Brown has received over 612 claim forms from potential creditors. During this



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  Application Period, Parr Brown continued the process of reviewing and verifying the various

  claim forms submitted to the Receivership Estate. This involved ongoing correspondence with

  both the Receiver and his accountants at BRG. To date, Parr Brown has reviewed all claim forms

  submitted by potential claimants to determine whether such claims will be allowed. All claim

  forms submitted by investors, trade vendors and customers have been analyzed by comparing the

  asserted losses with data from the books and records of the Receivership Defendants. Parr Brown

  anticipates completing its analysis of the remaining employee-related claims next quarter.

         This Application Period, Parr Brown worked with the Receiver to create a fair and

  equitable distribution plan, the first step towards making an initial interim disbursement to the

  creditors and claimants of the Receivership Estate. Parr Brown recently filed a motion with the

  Court seeking approval of such distribution plan. See Dkt. No. 298.

                                 Exhibit C—Time Records of BRG

         This section breaks down the total fees assessed by BRG, which are discussed in more

  detail below.

                  Data/Documentation Preservation & Analysis

         BRG has assisted the Receiver and his counsel with the review of documents received

  from various parties produced voluntarily or under subpoena in order to identify and reconcile

  the information and data. BRG has also coordinated with outside professionals in order to obtain

  access to the historical transaction and accounting information of RRC and its related entities.

                  Asset Identification, Preservation & Liquidation

         BRG has assisted the Receiver and his counsel in analyzing the books and records of the

  Receivership Estate and providing financial information and analyses related to various RRC

  entities and interests. The information and analyses provided by BRG is important to assisting



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  the Receiver in identifying assets and in negotiating with third parties. BRG has also assisted the

  Receiver in connection with due diligence requests of potential buyers of receivership assets, as

  well as settlement discussions with third parties.

                 Claims Process

         BRG has continued to assist the Receiver and his counsel in developing an efficient and

  effective claims process, including the claims motion filed with the Court, notification to

  potential claimants, as well as the recording, tracking and reconciliation of filed claims.

                 Cash Receipt and Disbursement Analysis

         RRC and its related entities historically have used QuickBooks as their accounting

  software. However, during the mid to late part of 2018, RRC, as well as R Legacy

  Entertainment, transitioned to a new accounting platform known as Acumatica. Acumatica is a

  web-based accounting software program. BRG has reviewed and extracted general ledger

  activity from both QuickBooks and Acumatica for RRC and its related entities. The data

  extracted to date consists of nearly 400,000 transactions spanning from 2002 through 2018. From

  this data, BRG has identified nearly 110,000 cash related transactions from which it has created a

  cash receipt and disbursement database.

         BRG has continued the process of categorizing the cash transactions by transaction type

  (i.e. investor contributions, disbursements to investors, purchases, sales, operating expenses,

  etc.). Additionally, BRG has continued to identify and add relevant information in order to

  provide the Receiver with an accurate picture of potential investor and creditor claims and

  potential claims to pursue.

         Furthermore, in order to provide a complete picture of the Receivership Defendants’

  financial records, the data has been compared, validated and in some instances supplemented by



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  information obtained from various financial institutions.

                 Net Winner/Claims Analysis

         BRG has continued to perform extensive analysis of cash receipt and disbursement

  activity, transaction support, investor files, email communications, and information received

  from individual investors through questionnaire responses and claim filings. This information

  has allowed BRG to identify and determine the amount of funds invested and draws taken by

  each individual investor and investor group. One of the complicating factors in this analysis is

  the quantity of transactions that are “non-cash” in nature. In its analysis, BRG has identified

  many non-cash transactions that occurred between RRC and investors that involve investments

  and draws using physical metals, which are then converted and credited to the investor’s account.

  This information is not captured in the cash receipt and disbursement activity and is only

  identified through additional supporting documentation such as RRC receipts, email

  communications, investor statements, and investor files.

         An additional issue encountered in this process is the commingled nature of the

  investments and how they were recorded in RRC’s records. Investors were typically combined

  into investor groups with their investments being pooled together. Sometimes investors were

  given their own investment account within the group and sometimes they were simply added to

  another previously existing investment account. BRG has identified many instances in which an

  investor would pay their investments to a group leader who would then deposit the investment

  under his or her own name rather than the name of the actual investor.

         Due to the nature of these transactions and the various sources that must be analyzed to

  provide the Receiver with an accurate picture and summary of each investor’s activity, this

  analysis has proven to be much more complicated and time consuming to complete.



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         Notwithstanding the difficulties noted above, BRG’s analysis has been critical in

  assisting the Receiver to identify potential claw backs and potential claims by investors. BRG

  has developed and provided these analyses to the Receiver and his counsel to be used in

  discussions, negotiations and potential recoveries. BRG has also been involved in assisting the

  Receiver and his counsel with responding to document requests from investors and their counsel.

  Additionally, BRG has assisted the Receiver in communications, including attending various

  meetings, with investors and their counsel to obtain additional information and support regarding

  their investments. Furthermore, BRG has coordinated various meetings and discussions with

  Gaylen Rust to obtain clarification and additional insight on investor account activity.

                 Ponzi Analysis

         BRG has continued to assist the Receiver in analyzing and evaluating various aspects of

  the alleged Rust Ponzi scheme, including the duration, size, and various identifying factors

  consistent with Ponzi activity in an effort to seek a “Ponzi” presumption from the Court. The

  work performed has included, but is not limited to, detailed investigation and analysis of RRC’s

  bank account activity, various “Point-of-Sale” systems and data, QuickBooks accounting

  records, tax returns and accountant work papers, discussions with RRC employees, sales and

  purchase orders, investor statements, RRC receipts, investor questionnaires, filed claims, and the

  company’s email, electronic files, and hardcopy of existing documentation. The analysis is

  ongoing given the volume of data and information being analyzed.

                 Tax Compliance, Analysis & Preparation

         BRG has worked closely with the Receiver and other professionals in order to secure

  information, including asset valuation information, needed in order to prepare final income tax

  returns for RRC and related entities under the Receiver’s control. BRG has met with the



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  Receiver and other professionals on multiple occasions to inform the Receiver of specific tax

  issues which arise in a Ponzi scheme case, as well as tax compliance requirements that must be

  adhered to in a Receivership.

         BRG has read and analyzed correspondence received from federal and state taxing

  authorities. BRG has responded, as appropriate, to tax correspondence. BRG met with and

  corresponded with the Receiver and various other professionals regarding resolution of

  outstanding tax issues. BRG performed tax research related to various income tax and other tax

  issues that arose after the appointment of the Receiver.

         BRG analyzed 2019 financial transactions for the Rust Rare Receivership and the pre-

  receivership entities in order to identify transactions requiring the preparation of required

  Form(s) 1099 and 1096. BRG prepared the required information returns. Additionally, BRG

  analyzed 2018 financial information and prepared past due 2018 Tennessee state income tax

  returns for Writer’s Den and Torque Entertainment. The completed income tax and information

  returns were reviewed in order to ensure completeness and accuracy. Corrections and updates

  were made as was necessary. BRG caused the finalized income tax returns to be filed with the

  proper taxing authorities. BRG also prepared outstanding payroll and sales tax returns for various

  pre-receivership entities as was required.

                 Exhibit D—Time Records of Conflict Receiver and His Counsel

         This section breaks down the total fees assessed by the Conflict Receiver and his counsel,

  which are discussed in more detail below.

         This Application Period, the Conflict Receiver and his counsel continued their

  correspondence and review of documentation related to various claw back defendants. The




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  Conflict Receiver continues to work towards a resolution of these recovery matters and

  correspond with investors and their legal counsel regarding the same.

  VI.    PRIOR REQUESTS AND INTERIM NATURE OF REQUEST

         16.     The Receiver has previously filed five interim fee applications, 2 all of which were

  approved by the Court. See Dkt. Nos. 153, 203, 247, 275, 293.

         17.     This is the Sixth Interim Fee Application of the Receiver and his professionals.

         18.     The Receiver and his professionals understand that the authorization and payment

  of fees and expenses is interim in nature. All fees and expenses allowed on an interim basis will

  be subject to final review at the close of the case and the discharge of the Receiver when the

  Receiver files a final accounting and the Receiver and his professional’s file final fee applications.

         19.     For the reasons set forth above and as supported by the Exhibits attached hereto,

  the Receiver respectfully submits that the fees and expenses requested herein are for actual services

  that were necessary for and beneficial to the administration of the Receivership Estate. The

  Receiver has made every attempt to limit the administrative expenses of this Receivership Estate,

  and the Receiver submits that given the work that has been performed as reflected in the attached

  time entries, the fees and expenses that have been incurred are reasonable.

         20.     Pursuant to Paragraph 62 of the Appointment Order, see Dkt. No. 54, the Receiver

  represents and avers that this Fee Application complies with the terms of the billing instructions

  agreed to by the Receiver, the fees and expenses included therein were incurred in the best interests

  of the Receivership Estate, and the Receiver has not entered into any agreement, written or oral,


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   The Receiver’s First Interim Fee Application was filed on February 22, 2019. See Dkt. No. 120.
  The Receiver’s Second Interim Fee Application was filed on May 24, 2019. See Dkt. No. 187. The
  Receiver’s Third Interim Fee Application was filed on September 4, 2019. See Dkt. No. 241. The
  Receiver’s Fourth Interim Fee Application was filed on December 31, 2019. See Dkt. No. 274.
  The Receiver’s Fifth Interim Fee Application was filed on March 10, 2020. See Dkt. No. 292.


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  express or implied, with any person or entity concerning the amount of compensation paid or to

  be paid from the Receivership Estate, or any sharing thereof.

         21.     The Receiver respectfully requests that the Court enter an Order (i) approving, on

  an interim basis, the Receiver’s fees in the amount of $23,256 and out-of-pocket expenses of

  $158.11; Parr Brown’s fees in the amount of $462,588.50 and out-of-pocket expenses of

  $9,619.25; BRG’s fees in the amount of $291,171 and out-of-pocket expenses of $188.79; and the

  Conflict Receiver and his counsel’s fees in the amount of $8,312; and (ii) authorizing the Receiver

  to pay these fees and reimburse the expenses from the Receivership Estate once the Receiver has

  recovered for the Estate at least three times the amount of fees requested in this Fee Application

  and prior applications.

         22.     A proposed Order is attached hereto as Exhibit E.

         The Receiver, Parr Brown, BRG, and the Conflict Receiver and his counsel verify under

  penalty of perjury that the foregoing is true and correct.




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       DATED this 7th day of August, 2020.

                                         RECEIVER




                                         Jonathan O. Hafen, Receiver

                                         PARR BROWN GEE & LOVELESS, P.C.




                                         ___________________________
                                         Joseph M.R. Covey
                                         Cynthia D. Love
                                         Attorneys for Receiver Jonathan O. Hafen

                                         BERKELEY RESEARCH GROUP




                                         Ray Strong

                                         CONFLICT RECEIVER


                                         ______________________________
                                         Wayne Klein, Conflict Receiver

                                         MANNING CURTIS BRADSHAW & BEDNAR


                                         ______________________________
                                         David. C. Castleberry
                                         Attorney for Conflict Receiver Wayne Klein




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                                      CERTIFICATE OF SERVICE

         IT IS HEREBY CERTIFIED that service of the above SIXTH INTERIM FEE

  APPLICATION was (1) electronically filed with the Clerk of the Court through the CM/ECF

  system on August 7, 2020, which sent notice of the electronic filing to all counsel of record, (2)

  posted on the Receiver’s website (rustrarecoinreceiver.com), and (3) emailed to all those on the

  Receiver’s master mailing matrix.


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